     Case: 1:20-cv-00441 Document #: 1 Filed: 01/21/20 Page 1 of 5 PageID #:1




                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

ROOFERS’ PENSION FUND; ROOFERS’                   )
UNIONS WELFARE TRUST FUND;                        )
CHICAGOLAND ROOFERS’ APPRENTICESHIP               )   CASE NO.: 1:20-CV-441
AND TRAINING FUND; ROOFERS’ RESERVE               )
FUND; ROOFING INDUSTRY ADVANCEMENT                )   JUDGE:
AND RESEARCH FUND; ROOFERS’ LOCAL 11              )
PROMOTIONAL AND ORGANIZATIONAL                    )   MAG. JUDGE:
FUND; NATIONAL ROOFING INDUSTRY                   )
PENSION PLAN; and                                 )
UNITED UNION OF ROOFERS,                          )
WATERPROOFERS AND ALLIED WORKERS                  )
LOCAL NO. 11,                                     )
                                                  )
             Plaintiffs,                          )
                                                  )
       vs.                                        )
                                                  )
BOFO WATERPROOFING, LLC, an Illinois              )
limited liability corporation,                    )
                                                  )
             Defendant.                           )


                                  COMPLAINT

      NOW COME the Plaintiffs, the ROOFERS’ PENSION FUND, the ROOFERS’ UNIONS

WELFARE TRUST FUND, the CHICAGOLAND ROOFERS’ APPRENTICESHIP AND

TRAINING FUND, the ROOFERS’ RESERVE FUND, the ROOFING INDUSTRY

ADVANCEMENT AND RESEARCH FUND, the ROOFERS’ LOCAL 11 PROMOTIONAL

AND ORGANIZATIONAL FUND, the NATIONAL ROOFING INDUSTRY PENSION PLAN

(the “TRUST FUNDS”), and the UNITED UNION OF ROOFERS, WATERPROOFERS AND

ALLIED WORKERS LOCAL NO. 11 (the “UNION”) (collectively the “Plaintiffs”), and

complain of Defendant BOFO WATERPROOFING, LLC (“BOFO”), as follows:




                                    Page 1 of 5
     Case: 1:20-cv-00441 Document #: 1 Filed: 01/21/20 Page 2 of 5 PageID #:1




                              JURISDICTION AND VENUE

1.   This action arises under Sections 502 and 515 of the Employee Retirement Income Security

     Act (hereinafter referred to as “ERISA”) (29 U.S.C. §§ 1132 and 1145) and Section 301 of

     the Labor-Management Relations Act (29 U.S.C. § 185). The Court has jurisdiction over

     the subject matter of this action pursuant to 29 U.S.C. § 1132 and 28 U.S.C. § 1331.

2.   Venue is proper in this Court pursuant to 29 U.S.C. § 1132(e)(2) in that the ROOFERS’

     PENSION FUND, the ROOFERS’ UNIONS WELFARE TRUST FUND, the

     CHICAGOLAND ROOFERS’ APPRENTICESHIP AND TRAINING FUND, the

     ROOFERS’ RESERVE FUND, and the NATIONAL ROOFING INDUSTRY PENSION

     PLAN (collectively the “TRUST FUNDS”) are administered at 2021 Swift Drive, Suite B,

     Oak Brook, Illinois, and pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part of the

     events or omissions giving rise to the Plaintiffs’ claims occurred in the Northern District

     of Illinois, Eastern Division.

                                          PARTIES

3.   The TRUST FUNDS receive contributions from numerous employers pursuant to the

     Standard Working Agreement (“SWA”) negotiated between the UNITED UNION OF

     ROOFERS, WATERPROOFERS, AND ALLIED WORKERS LOCAL NO. 11 (“LOCAL

     11”) and the Labor Relations Group of the Chicago Roofing Contractors Association, Inc.

     (“CRCA”) and, therefore, are multiemployer plans under 29 U.S.C. § 1002.

4.   ROOFERS’ LOCAL 11 PROMOTIONAL AND ORGANIZATIONAL FUND

     (“PROMOTIONAL FUND”) is a labor management cooperation committee that is

     administered in Westchester, Illinois.




                                          Page 2 of 5
      Case: 1:20-cv-00441 Document #: 1 Filed: 01/21/20 Page 3 of 5 PageID #:1




5.    ROOFING INDUSTRY ADVANCEMENT AND RESEARCH FUND (“INDUSTRY

      FUND”) is an industry improvement fund administered in Hillside, Illinois.

6.    BOFO is an Illinois limited liability corporation with its principal place of business in

      Chicago, Illinois.

                                          COUNT I
                                     BREACH OF CONTRACT

7.    Plaintiffs re-allege and incorporate the allegations contained in Paragraphs 1-6 of this

      Complaint with the same force and effect as if fully set forth herein.

8.    BOFO signed a Memorandum of Understanding whereby it agreed to be bound by the

      terms of the Standard Working Agreement negotiated between the UNION and the

      Chicago Roofing Contractors Association (“CRCA”). (A copy of the Memorandum of

      Understanding is attached as Exhibit 1); (A copy of the SWA for the period of June 1,

      2011 through May 31, 2015 is attached as Exhibit 2); (A copy of the SWA for the period

      of June 1, 2015 through May 31, 2018 is attached as Exhibit 3).

9.    Pursuant to the terms of the Memorandum of Understanding and the terms of the SWA,

      BOFO became bound by the provisions of the Agreements and Declarations of Trust which

      created the TRUST FUNDS (hereinafter referred to as the “Trust Agreements”).

10.   Pursuant to the Trust Agreements, the Trustees adopted the Employer Collection and Audit

      Procedures (“Collection Procedures”) to administer the collection of contributions from

      employers.

11.   The provisions of the SWA, Trust Agreements, and Collection Procedures require BOFO

      to make monthly reports of hours worked by bargaining unit employees and pay

      contributions to the TRUST FUNDS, the INDUSTRY FUND, and the PROMOTIONAL

      FUND for each hour worked pursuant to the SWA at the negotiated rate. The monthly



                                           Page 3 of 5
      Case: 1:20-cv-00441 Document #: 1 Filed: 01/21/20 Page 4 of 5 PageID #:1




      remittance reports and contributions during all relevant times were due on or before the

      15th day of the calendar month following the calendar month during which the work was

      performed.

12.   Pursuant to the SWA and properly executed dues check-offs cards, employers are required

      to deduct $0.93 as dues for each hour worked by its employees under the SWA from its

      employees’ wages and remit the deduction to LOCAL 11 on a monthly basis. The monthly

      remittance reports and dues during all relevant times were due on or before the 15th day of

      the calendar month following the calendar month during which the work was performed.

13.   Pursuant to Section 502(g)(2) of ERISA (29 U.S.C. § 1132) and the provisions of the SWA,

      Trust Agreements, and Collection Procedures, employers who fail to timely submit their

      monthly remittance reports and contributions to the TRUST FUNDS, the INDUSTRY

      FUND, and the PROMOTIONAL FUND, and dues to LOCAL 11, on a timely basis are

      responsible for the payment of liquidated damages equal to 10% of the amount unpaid plus

      interest at the prime rate as published by the Wall Street Journal plus 4 percentage points

      for each month that contributions remain unpaid, plus any reasonable attorneys’ fees and

      costs of maintaining suit.

14.   The Plaintiffs’ auditor performed an audit of BOFO’s financial books and records for the

      period of June 1, 2014 through March 31, 2017, which revealed that BOFO owes the

      TRUST FUNDS, the INDUSTRY FUND, the PROMOTIONAL FUND, and LOCAL 11

      the aggregate amount of $598,683.51 itemized as follows:

           Type:                                                      Amount Owed:
           Contributions and Wage Assessments                           $510,159.26
           Liquidated Damages                                            $51,015.93
           Interest                                                      $37,508.32
                                          Total:                        $598,683.51




                                          Page 4 of 5
      Case: 1:20-cv-00441 Document #: 1 Filed: 01/21/20 Page 5 of 5 PageID #:1




15.   Plaintiffs have been required to employ the undersigned counsel to collect the monies that

      are due and owing the Plaintiffs from BOFO.

16.   Plaintiffs have complied with all conditions precedent in bringing this suit.

17.   BOFO is obligated to pay the reasonable attorneys’ fees and court costs incurred by the

      Plaintiffs pursuant to the SWA, Trust Agreements, and 29 U.S.C. § 1132(g)(2)(D).

WHEREFORE, Plaintiffs respectfully request that:

A.    This Honorable Court enter an Order in favor of the Plaintiffs and against BOFO in the

      amount of $598,683.51 for contributions, liquidated damages, and interest as revealed by

      the audit for the period of June 1, 2014 through March 31, 2017;

B.    This Honorable Court enter an Order in favor of Plaintiffs and against BOFO for any

      amounts discovered to be owed by BOFO to Plaintiffs in addition to those in Paragraph A

      above;

C.    Defendant BOFO be ordered to pay the reasonable attorneys’ fees and costs incurred by

      the Plaintiffs pursuant to the SWA, the Trust Agreements, Collection Procedures, and 29

      U.S.C. § 1132(g)(2)(D); and

D.    Plaintiffs have such other relief as the Court may deem just and equitable all at BOFO’s

      cost pursuant to 29 U.S.C. § 1132(g)(2)(D).

                                                    Respectfully Submitted,

                                                    /s/ Matthew D. Grabell
                                                    One of Plaintiffs’ Attorneys
                                                    Johnson & Krol, LLC
                                                    311 S. Wacker Dr., Suite 1050
                                                    Chicago, IL 60606
                                                    (312) 757-5469
                                                    grabell@johnsonkrol.com




                                           Page 5 of 5
